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VIA ECF
The Honorable Arun Subramanian                                                   September 23, 2024
United States District Judge
United States District Court, Southern District of New York
500 Pearl Street, Courtroom 15A
New York, NY 10007

Re:    United States, et al. v. Live Nation Entertainment, Inc., et al., No. 1:24-cv-03973

Dear Judge Subramanian:

      Plaintiffs and Defendants submit this joint letter pursuant to the Scheduling Order issued
on August 20, 2024 (ECF No. 237).
I.   Plaintiffs’ Issues for Discussion at the Conference
1.   Plaintiffs’ September 17 Motion to Compel and Defendants’ initial disclosures;
2.   Interim and substantial completion deadlines for document productions;
3.   Plaintiffs’ First Requests for Production to Defendants (“Plaintiffs’ First RFPs”):
      i. Request No. 3 (“All documents responsive to any of the Investigative Subpoenas issued by
         any Plaintiff during the Investigation, and that were reviewed by counsel for the Company
         at any level (including any first-level or contract review) but have not yet been produced.”),
         and
    ii. Request No. 5 (“All executed contracts in effect on or after January 1, 2015, including
         original contracts and any subsequent modifications, extensions, amendments, and all
         underlying agreements that govern or governed the Company’s agreement with any Person,
         for all: a. Relevant Products and Services; b. Secondary Ticketing Services; c. Venue
         Operations and Booking Services; or d. Artist Management Services.”);
4. Defendants’ responses to Plaintiffs’ First Interrogatories; and
5. Documents reviewed for responsiveness to Plaintiffs’ civil investigative demands (“CIDs”).
II. Defendants’ Issues for Discussion at the Conference
1. The scope of discovery relating to secondary ticketing;
2. The number of hours allotted for Plaintiffs’ 30(b)(6) depositions;
3. Contention interrogatories; and
4. The scope of the Protective Order.
III. Plaintiffs’ Statement
         Plaintiffs have diligently and expeditiously pursued and produced discovery in accordance
with the Court’s schedule. The original Plaintiffs have substantially completed their productions
in response to Defendants’ First Requests for Production, substantively responded to all of
Defendants’ interrogatories, and provided detailed initial disclosures identifying 180 individuals
and entities likely to have discoverable information. By contrast, Defendants have delayed the
production of responsive documents, failed to identify non-parties they may rely on for their
defenses, and have otherwise impeded Plaintiffs’ pursuit of timely discovery. For example:
• Discovery Delays: Plaintiffs issued their first RFPs on July 15 seeking readily available
     documents. Nevertheless, Defendants waited more than 55 days to produce any documents,
     and before today, had only produced organization charts, despite Plaintiffs serving 13 RFPs in
     July and 74 in total. Defendants have also rejected Plaintiffs’ requests for a weekly standing
     call to more efficiently address the parties’ discovery obligations.

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•   Request No. 3: Defendants have refused to produce documents they determined were
    responsive to compulsory process issued during Plaintiffs’ pre-complaint investigation but not
    produced before Plaintiffs filed the complaint. Defendants have already reviewed these
    documents and identified them as relevant to facts at issue in the litigation.
• Request No. 5: While the parties have made progress in their discussion of the production of
    relevant contracts, central to Plaintiffs’ claims, some important issues remain in dispute. The
    parties have not been able to agree on the production of artist contracts for promotions services,
    as Defendants continue to raise confidentiality concerns despite the Protective Order in place.
• Defendants’ Responses to Plaintiffs’ First Interrogatories: Defendants’ approach to
    Plaintiffs’ interrogatories suggests a lack of inquiry inconsistent with their responsibilities
    under the Federal Rules. Defendants did not provide substantive responses to most of
    Plaintiffs’ 10 interrogatories, quibbled with the meaning of terms frequently used and well
    known in the industry, such as “non-exclusive agreement,” and even when they did provide a
    substantive response, failed to provide any new information. Until today, Defendants refused
    to provide a date certain by which they will supplement their inadequate responses.
• Documents reviewed for responsiveness to Plaintiffs’ CIDs: Defendants seek to treat any
    documents they previously determined as not responsive to Plaintiffs’ CIDs as irrelevant to
    Plaintiffs’ RFPs. However, Plaintiffs’ RFPs are actually broader than the CIDs, such that
    Defendants’ approach would exclude otherwise relevant materials.
• Number of hours for Plaintiffs’ 30(b)(6) depositions: Plaintiffs request 35 hours to address
    the complex issues in this case, many of which are best addressed at the corporate level because
    a given individual will lack sufficient personal knowledge to testify on them competently.
• Defendants’ initial disclosures: Defendants’ initial disclosures fail to identify any specific
    non-party individuals Defendants may use to support their defenses.
• Secondary Ticketing: Defendants’ request to “cabin” discovery regarding secondary ticketing
    is premature, as the parties have only just begun discussing the relevant RFPs.
• Protective Order: Defendants’ vague and unsubstantiated claim than an entire category of
    sensitive information produced by non-parties should be designated “non-confidential” cannot
    be evaluated without more information and an opportunity for non-parties to comment.
• Contention Interrogatories: Defendants’ request to serve contention interrogatories is
    premature and not justified given Plaintiffs’ prompt and substantial discovery responses.
        Defendants’ discovery delays and inadequate responses risk impeding Plaintiffs’ ability to
conduct document discovery in time to identify deponents, allocate deposition hours, and complete
depositions on schedule. Plaintiffs seek to discuss with the Court ways to ensure party discovery
proceeds in a timely manner, including implementing interim and substantial completion deadlines
for document productions going forward.
IV. Defendants’ Statement
Plaintiffs ignore not only that Defendants have already produced over 600,000 documents during
their pre-Complaint investigations, but also that the parties have made significant progress in
narrowing Plaintiffs’ listed issues, some of which will be moot by the time of the September 27
conference. By contrast, Defendants’ issues require the Court’s guidance:
• Discovery Regarding Secondary Ticketing: After their multi-year investigation, which
    specifically included an investigation into secondary ticketing, Plaintiffs chose not to bring any
    claims regarding secondary ticketing in the face of evidence that Ticketmaster’s share in
    secondary ticketing is too low to support a claim. But, Plaintiffs have served over 30 broad
    discovery requests regarding secondary ticketing. Defendants request that discovery into

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    secondary ticketing be prohibited without a clear showing that the facts, documents or data
    sought are directly relevant to the alleged anti-competitive effects in primary ticketing.
•   30(b)(6) Depositions: Plaintiffs’ request for 35 hours is burdensome and disproportionate,
    particularly since the parties are not equally situated. Plaintiffs do not explain why they need
    more than the 14 hours provided by the federal rules, let alone the 20 hours Defendants offered.
•   Interrogatories: Plaintiffs have failed to sufficiently disclose the basis of their claims,
    including by serving broad initial disclosures identifying numerous third parties with no
    meaningful information about their relevance to Plaintiffs’ broad allegations. This hide-the-
    ball approach impedes Defendants’ ability to conduct discovery and is highly inefficient.
    Plaintiffs’ interrogatory responses (responding to requests to identify third parties encompassed
    by specific allegations in the Amended Complaint) do not come close to curing the problem.
    Defendants therefore request that the Court allow them to serve contention interrogatories on
    Plaintiffs by the interrogatory deadline. Defendants do not otherwise have a comparable tool
    like 30(b)(6) depositions to obtain information about the basis of Plaintiffs’ claims.
•   Protective Order: The vast majority of the ~850,000 documents in Plaintiffs’ investigative files
    are designated Highly Confidential or Confidential. Many do not meet the Protective Order’s
    confidentiality requirements, but challenging improper designations on a by-document basis is
    burdensome. At this stage, the improper designations are particularly problematic with respect
    to the details in third-party materials relating to venues purportedly impacted by Defendants’
    alleged conduct. Defendants request that the Protective Order be amended to categorically
    designate such information non-confidential. Absent such relief, Defendants will be hampered
    from obtaining information from their relevant business people to put on a full defense.

Plaintiffs mischaracterize the state of discovery by raising non-issues and failing to account for
Defendants’ significant progress on discovery to date:
• Status of Discovery: Plaintiffs admit that the vast majority of their RFPs seek custodial
    documents, and Plaintiffs do not (and cannot) claim that Defendants have delayed in
    responding to those requests. Additionally, Defendants have already produced 19,713 pages of
    material in response to Plaintiffs’ “go-get” requests, which the parties continue to negotiate.
• Plaintiffs’ Request Nos. 3 and 5: With respect to Request No. 3, this is a non-issue because
    there are no documents that Defendants “determined were responsive” to Plaintiffs’ CIDs but
    did not produce. With respect to Request No. 5, the parties are actively negotiating the scope
    of contracts to be produced, including artist contracts.
• Defendants’ Interrogatory Responses: Defendants have fully complied with their obligations
    under the rules, and—after Plaintiffs clarified ambiguities in their requests during a recent meet
    and confer—Defendants intend to submit supplemental responses within the next week.
• Review of Documents Not Responsive to CIDs: Plaintiffs admit that there is significant
    overlap between the issues relevant to the investigation and this case. It would be wasteful and
    burdensome for Defendants to re-review documents (over 1.8 million) that they already
    determined are irrelevant to those overlapping issues. The parties continue to discuss this.
• Defendants’ Initial Disclosures: Defendants disclosed the individuals and entities known to
    them at this time, including 15 individuals employed by Defendants and 14 individuals/entities
    outside of Defendants. When Defendants identify additional individuals/entities likely to have
    discoverable information that they may use to support their defenses, Defendants will make
    additional disclosures as required by Fed. R. Civ. P. 26(e).


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                                                 Respectfully submitted,

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